
706 S.E.2d 491 (2011)
Arthur O. ARMSTRONG
v.
ARMSTRONG'S ESTATE.
No. 526P10.
Supreme Court of North Carolina.
March 10, 2011.
Arthur O. Armstrong, Elm City, for Armstrong, Arthur O.
Grady L. Balentine, Jr., Special Deputy Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed by Plaintiff on the 17th of December 2010 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
